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     Federal Defender
 2   CARO MARKS, Bar #159267
     Senior Litigator
 3   Designated Counsel for Service
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 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
 6
     Attorney for Defendant
 7   BEVERLY LATTICE BARRON
 8
 9
                        IN THE UNITED STATES DISTRICT COURT
10
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13
     UNITED STATES OF AMERICA,       )     No. 2:07-cr-0236 FCD
14                                   )
                    Plaintiff,       )
15                                   )     STIPULATION AND ORDER TO CONTINUE
          v.                         )     BRIEFING SCHEDULE AND HEARING
16                                   )     DATE
     BEVERLY LATTICE BARRON,         )
17                                   )
                    Defendant.       )     Date: December 3, 2007
18                                   )     Time: 10:00 a.m.
     _______________________________ )     Judge: Hon. Frank C. Damrell Jr.
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20
          Beverly Lattice Barron, by and through her counsel, Caro marks,
21
     and the United States of America, by and through its counsel, Jason
22
     Hitt, hereby agree and stipulate to continue the briefing schedule and
23
     hearing in this matter as follows:
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          Defendant’s reply to the governments’s response to defendant’s
25
     Motion to Dismiss shall be filed no later than November 28, 2007.
26
          A hearing on the motions shall be held on December 3, 2007.
27
          At the previous hearing on November 13, 2007, the Court found
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 1   excludable time under Local Code E, due to pending motions, as well as
 2   pursuant to 18 U.S.C. § §3161(h)(8)(B)(iv) and Local Code T4 based upon
 3   continuity of counsel and defense preparation.           The parties agree that
 4   time under the Speedy Trial Act should continue to be excluded pursuant
 5   to these provisions, up to and including December 3, 2007.
 6   Dated:    November 15, 2007
                                               Respectfully submitted,
 7
                                               DANIEL J. BRODERICK
 8                                             Federal Defender
 9
                                               /s/ Caro Marks
10                                             ________________________________
                                               CARO MARKS
11                                             Attorney for Defendant
                                               BEVERLY LATTICE BARRON
12
                                               /s/ Jason Hitt
13                                             ________________________________
                                               Jason Hitt
14                                             Assistant United States Attorney
15
                                             ORDER
16
          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
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     ordered that the November 13, 2007, status conference hearing be
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     continued to December 3, 2007, at 10:00 a.m.           Based on the
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     representation of defense counsel and good cause appearing there from,
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     the Court hereby finds that the failure to grant a continuance in this
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     case would deny defense counsel reasonable time necessary for effective
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     preparation, taking into account the exercise of due diligence.          The
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     Court finds that the ends of justice to be served by granting a
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     continuance outweigh the best interests of the public and the defendant
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     in a speedy trial.      It is ordered that time up to and including the
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     December 3, 2007 status conference shall be excluded from computation
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     of time within which the trial of this matter must be commenced under
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     the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(8)(A) and (B)(iv)

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 1   and Local Codes T-4 and E, to allow defense counsel reasonable time to
 2   prepare.
 3        IT IS SO ORDERED.
 4   Dated: November 16, 2007
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 6                                    _______________________________________
                                      FRANK C. DAMRELL, JR.
 7                                    UNITED STATES DISTRICT JUDGE
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